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                                 UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

                                            CIVIL MINUTES

Date: May 17, 2024             Time: 3 hours 5 minutes      Judge: YVONNE GONZALEZ ROGERS
Case No.: 20-cv-05640-YGR      Case Name: Epic Games v. Apple Inc.



  Attorney for Plaintiff: Gary Bornstein, Yonatan Even, Lauren Moskowitz, Michael Zaken,
                          and Benjamin Wylly
  Attorney for Defendant: Mark Perry, Rich Doren, Cynthia Richman, Jason Lo, Harry Phillips, and
                            Jacqueline Sesia

  Apple Corporate Representative: Philip William Schiller
  Apple Head of Litigation: Heather Grenier
  Counsel for Apple: Joshua Wesneski and Mark Pinkert

  Deputy Clerk: Edwin Angelo A. Cuenco                      Court Reporter: Raynee Mercado


                                             PROCEEDINGS

     Evidentiary Hearing – HELD. See attached witness and exhibit list.

     The parties informed the Court that they had met and conferred and agreed to submit proposed
     findings of fact three weeks after the close of evidence. The Court directed the parties to further
     meet and confer regarding a structure for such proposed findings of fact, clarifying that the Court
     desires the parties’ respective submissions to follow the same general outline.

     This case is continued to May 22, 2024, at 9:00 a.m. for Evidentiary Hearing.

     Assuming the parties do not finish their presentations on May 22, the Court will also take
     argument as part of the Evidentiary Hearing on Friday, May 31, 2024, at 9:00 a.m.
